
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date February 2, 1967.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the records and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petitions for certiorari and for attorney’s fees are therefore denied and the cross-petition thereby becomes moot.
It is so ordered.
ROBERTS, Acting C. J., and DREW, O’CONNELL, CALDWELL and ERVIN, JJ., concur.
